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                      UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                          DEC 20 2021
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
 HALIE BLOOM; et al.,                             No.    19-55628

                  Plaintiffs-Appellants,          D.C. No. 2:18-cv-06749-GW-KS
                                                  Central District of California,
   v.                                             Los Angeles

 ACT, INC.,                                       ORDER

                  Defendant-Appellee.

        The parties’ stipulated motion (Docket Entry No. 65) for voluntary dismissal

 is granted. This appeal is dismissed. Fed. R. App. P. 42(b).

        Costs and fees shall be allocated pursuant to the parties’ stipulation.

        This order served on the district court serves as the mandate of this court.


                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT


                                                   By: Sofia Salazar-Rubio
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7




 SSR/Pro Mo
